                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

JANEEN L. WALKER-TARVER,                      )
     Plaintiff,                               )
                                              )
       v.                                     )       CAUSE NO.: 2:23-CV-210-JEM
                                              )
FRANCISCAN PHYSICIAN GROUP                    )
a/k/a FRANCISCAN ALLIANCE, INC.,              )
       Defendant.                             )

                                             ORDER

       This matter is before the Court on a Joint Stipulation of Dismissal [DE 16], filed by the

parties on September 23, 2024.

       A plaintiff may voluntarily dismiss an action without a court order by filing a stipulation

of dismissal signed by all parties who have appeared. Fed. R. Civ. P. 41(a)(1)(A)(ii). Plaintiff has

done so in this case, and the Court accordingly ACKNOWLEDGES that all claims are

DISMISSED with prejudice.

       SO ORDERED this 24th day of September, 2024.

                                              s/ John E. Martin
                                              MAGISTRATE JUDGE JOHN E. MARTIN
                                              UNITED STATES DISTRICT COURT
cc:    All counsel of record




                                                  1
